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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

ANGELA D. ROE,

            Plaintiff,
                                           Case No. 18-CV-13536
vs.                                        HON. GEORGE CARAM STEEH

ROOSEN, VARCHETTI
& OLIVER, PLLC, et al.,

         Defendants.
__________________________/

          ORDER GRANTING IN PART AND DENYING IN PART
           PLAINTIFF’S MOTION TO AMEND (Doc. 15), AND
               DENYING DEFENDANTS’ MOTION FOR
             SUMMARY JUDGMENT (Doc. 20) AS MOOT

      Plaintiff Angela Roe brought this suit against Defendants Roosen,

Varchetti & Oliver, PLLC, (“Roosen”) and Credit Acceptance Corporation

(“Credit Acceptance”) for submitting a writ of garnishment to her employer,

which included the social security number of the actual debtor who shared

her same name, in alleged violation of the Fair Debt Collection Practices

Act (“FDCPA”) and under Michigan law. Now before the court is Plaintiff’s

motion to amend her Complaint. Also pending is the matter of whether this

action should be dismissed for Plaintiff’s lack of standing which has been

thoroughly briefed. For the reasons set forth below, this court has Article III

subject matter jurisdiction over the First Amended Complaint, Plaintiff’s
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motion to amend (Doc. 15) shall be GRANTED IN PART and DENIED IN

PART such that Plaintiff may proceed with all claims except for her 15

U.S.C. § 1692d claim.

                           I. Factual Background

      Roosen is a collection agency, and Credit Acceptance is an auto

finance company which provides automobile loans. Credit Acceptance

obtained a judgment against a debtor other than the Plaintiff with the same

name of Angela Roe. On October 9, 2018, Defendants filed a request for a

writ of garnishment in Michigan’s 91st Judicial District. The garnishee was

identified as National Realty Centers, Inc. (“National Realty”). Plaintiff

works for National Realty as a real estate agent on a commission basis.

The writ was served on National Realty on October 30, 2018. National

Realty sent a copy of its garnishee disclosure form to Plaintiff on October

31, 2018. According to Plaintiff, receipt of the garnishee disclosure form

caused her to be extremely confused and emotionally distressed. She tried

to speak to Defendants about the debt, but when she could not provide the

correct verifying information, namely the social security number, they would

not speak to her.

      On November 13, 2018, Plaintiff filed this lawsuit. One week before

the suit was filed, on November 6, 2018, her employer learned that Plaintiff


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was not the debtor named Angela Roe identified in the writ, and submitted

an amended garnishee disclosure form to Defendants. Plaintiff’s wages

were never garnished. Plaintiff did not learn of the amended garnishee

disclosure form until February 25, 2019. Plaintiff alleges she refrained from

selling real estate during this time period for fear her wages would be

garnished.

      Plaintiff’s original Complaint alleges that Defendants violated 15

U.S.C. §§ 1692e and 1692f, and Michigan’s Occupational Code, M.C.L.

§ 339.915(f)(ii). In her First Amended Complaint, Plaintiff pleads these

same FDCPA claims, but also seeks to add claims for alleged violations of

§ 1692c(b) and § 1692d. Plaintiff also seeks to add claims under the

Michigan Collection Practices Act, M.C.L. §§ 445.252(e)(i)(n)(q). In

opposition to Plaintiff’s motion to amend, Defendants argue all of the

FDCPA claims should be dismissed for failure to state a claim. For the

reasons set forth below, Plaintiff’s motion to amend shall be granted in part

as to §§ 1692e, 1692f and 1692d and denied in part and Plaintiff’s claim

under § 1692d. The parties have not addressed the supplemental state

law claims; thus, the court does not do so either.




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                                  II. Analysis

A.    Article III Standing

      As a threshold matter, the court must determine whether Plaintiff has

Article III standing to bring this action. Standing requires three elements.

“First, the plaintiff must have suffered an injury in fact – an invasion of a

legally protected interest which is (a) concrete and particularized, and (b)

actual or imminent, not conjectural or hypothetical.” Macy v. GC Servs.

Ltd. P’ship, 897 F.3d 747, 752 (6th Cir. 2018) (quoting Lujan v. Defs. of

Wildlife, 504 U.S. 555, 560 (1992)). “Second, there must be a causal

connection between the injury and the conduct complained of – the injury

has to be fairly . . . trace[able] to the challenged action of the defendant,

and not . . . th[e] result [of] the independent action of some third party not

before the court.” Id. (quoting Lujan, 504 U.S. at 560-610). “Third, it must

be likely, as opposed to merely speculative, that the injury will be redressed

by a favorable decision.” Id. (quoting Lujan, 504 U.S. at 561). Also, a

plaintiff cannot “allege a bare procedural violation, divorced from any

concrete harm, and satisfy the injury-in-fact requirement of Article III.”

Spokeo. Inc. v. Robins, 136 S. Ct. 1540, 1549 (2016).

      In assessing whether Plaintiff has Article III standing, the court is

mindful that the Sixth Circuit has determined that the FDCPA is an


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extraordinarily broad statute. Currier v. First Resolution Inv. Corp., 762

F.3d 529, 533 (6th Cir. 2014). Through the enactment of the FDCPA,

“Congress addressed itself to what it considered to be a widespread

problem, and to remedy that problem it crafted a broad statute.” Frey v.

Gangwish, 970 F.2d 1516, 1521 (6th Cir. 1992). The Sixth Circuit has

noted that the FDCPA should be applied broadly according to its terms.

Bridge v. Ocwen Fed. Bank, FSB, 681 F.3d 355, 362 (6th Cir. 2012).

Defendants argue that the FDCPA was designed to address solely

“abusive” debt collection practices, and is not meant to address cases of

mistaken identity as is the case here. But the legislative history of the

FDCPA reveals that Congress was concerned with cases of mistaken

identity and debt collectors trying to recover from the wrong persons.

Specifically, a Senate Report states that the purpose of the Act’s debt

verification is to “eliminate the recurring problem of debt collectors dunning

the wrong person or attempting to collect debts which the consumer has

already paid.” S. Rpt. 95-382 at 4 reprinted in 1977 U.S.C.C.A.N. 1695,

1699. A House report noted Congressional intent to regulate collection

activities based on either “mistaken identity or mistaken facts.” H.R.REP.

No. 131, at 8.




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      Defendants rely on Lyshe v. Levy, 854 F.3d 855 (6th Cir. 2017) for

the proposition that Plaintiff lacks standing. In Lyshe, the Sixth Circuit

found that plaintiffs had not alleged concrete harm sufficient to establish

standing. Id. at 861. In that case, plaintiffs’ alleged FDCPA violations

arose when defendants attempted to collect plaintiffs’ debt in state court,

and misrepresented that plaintiffs’ discovery responses needed to be sworn

and notarized, when in fact they did not. Id. at 860. The Sixth Circuit found

that the procedural violation alleged – a violation of state law procedure not

required under the FDPCA – was not the type of harm the FDPCA was

designed to prevent. Id. Here, by contrast, the challenged conduct

involves Defendants’ attempt to garnish the wages of the wrong person,

which is the very type of abuse the FDPCA was enacted to curb.

      Defendants also argue that because they included the correct social

security number on the writ, Plaintiff’s employer is solely responsible for

any harm to Plaintiff. Defendants have cited no authority in support of this

proposition, and the court is aware of none. In a related context, the Eighth

Circuit held that serving plaintiff’s attorney with discovery requests on

extinguished debt amounts to concrete injury as representations to a

consumer’s attorneys routinely come to the consumer’s attention.

Demarais v. Gurstel Chargo, P.A., 869 F.3d 685, 690 (8th Cir. 2017).


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Similarly, service of a writ of garnishment on an employer is likely to come

to the employee’s attention, just as it did here.

      Defendants also cite to Kujawa v. Palisades Collection, LLC, 614 F.

Supp. 2d 788, 792 (E.D. Mich. 2008) and Williams v. Web Equity Holdings,

LLC, No. 13-CV-13723, 2014 WL 3845952 at *4 (E.D. Mich. Aug. 5, 2014).

But neither of those cases discussed Article III standing at all. Kujawa

addressed claims pursuant to defendants’ motion for summary judgment

under the “least sophisticated consumer” standard, which this court will

discuss below when it considers whether Plaintiff has satisfied the plausible

claim requirement under Rule 12(b)(6). Moreover, Williams involved a

motion to dismiss for failure to state a claim, not a challenge to Article III

standing.

      Here, the conduct alleged was Defendants’ act of serving a writ of

garnishment on Plaintiff’s employer, which included the correct social

security number of the actual debtor whose name was the same as

Plaintiff’s. Although Plaintiff’s wages were never garnished, Plaintiff claims

she suffered emotional distress, refrained from selling real estate so her

wages would not be garnished, contacted an attorney, and suffered

embarrassment because her employer was led to believe she owed a debt

that had been reduced to judgment. (Doc. 15-2 at ¶¶ 26, 32, 37-40).


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Although the plausibility of these claims may be addressed under Rule

12(b)(6), or the reasonableness of these claims may be addressed in the

context of a Rule 56 motion for summary judgment, they are sufficient to

satisfy Article III standing now.

      Defendants also rely on Fed. Home Loan Mortg. Corp. v. Lamar, 503

F.3d 504, 509-10 (6th Cir. 2007), which they claim requires that that

plaintiff’s alleged emotional distress damages not be “idiosyncratic and

utterly implausible.” But that case addressed FDCPA claims on the merits

within the context of a summary judgment motion, not within the context of

Article III standing.

      Finally, Defendants cite to Macy v. GC Serv. Ltd. P’ship, 897 F.3d

747 (6th Cir. 2018) in support of their argument this court lacks standing.

In that class action case, debtors sued for deficient debt collection notices

which violated the FDCPA because they failed to advice debtors of the

need to challenge their debts in writing. Id. at 751. A written dispute

requires cessation of collection, and triggers debt collectors’ obligation to

provide additional information. Id. at 756. The debtors suffered no actual

harm. Id. at 757. Nevertheless, the Sixth Circuit held plaintiffs had

standing because the letters’ failure to advise them of the writing




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requirement gave rise to a material risk of harm to the interests recognized

by Congress in enacting the FDCPA. Id. at 761.

      Plaintiff has sufficiently alleged that she suffered a concrete and

particularized injury which is fairly traceable to the Defendants. Here,

Plaintiff alleges substantive injuries, both intangible emotional distress

injuries, including embarrassment, as well as lost income. The Supreme

Court has recognized that intangible injuries can be concrete. Spokeo, 136

S. Ct. at 1549. As pled, Plaintiff has Article III standing to proceed with her

First Amended Complaint.

B.    Standard of Law

      Having found that Plaintiff has standing, the court turns now to

Plaintiff’s motion to amend her Complaint. A district court is not required to

permit an amendment if such an amendment would be futile. Forman v.

Davis, 371 U.S. 178, 182 (1962); Courie v. Alcoa Wheel & Forged Prods.,

577 F.3d 625, 633 (6th Cir. 2009). “Amendment of a complaint is futile

when the proposed amendment would not permit the complaint to survive a

motion to dismiss.” Miller v. Calhoun Cty., 408 F.3d 803, 817 (6th Cir.

2005).

      Rule 12(b)(6) allows the Court to make an assessment as to whether

the plaintiff has stated a claim upon which relief may be granted. Under the

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 Supreme Court’s articulation of the Rule 12(b)(6) standard in Bell Atlantic

 Corp. v. Twombly, 550 U.S. 544, 554-56 (2007), the court must construe

 the complaint in favor of the plaintiff, accept the allegations of the complaint

 as true, and determine whether plaintiff’s factual allegations present

 plausible claims. “‘[N]aked assertions’ devoid of ‘further factual

 enhancement’” are insufficient to “‘state a claim to relief that is plausible on

 its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Twombly,

 550 U.S. at 557, 570). To survive a Rule 12(b)(6) motion to dismiss,

 plaintiff’s pleading for relief must provide “‘more than labels and

 conclusions, and a formulaic recitation of the elements of a cause of action

 will not do.’” D’Ambrosio v. Marino, 747 F.3d 378, 383 (6th Cir. 2014)

 (quoting Twombly, 550 U.S. at 555). Even though the complaint need not

 contain “detailed” factual allegations, its “‘factual allegations must be

 enough to raise a right to relief above the speculative level on the

 assumption that all of the allegations in the complaint are true.’” New

 Albany Tractor, Inc. v. Louisville Tractor, Inc., 650 F.3d 1046, 1051 (6th Cir.

 2011) (quoting Twombly, 550 U.S. at 555).

       Although Defendants have not filed a motion to dismiss, both sides

 have thoroughly briefed the sufficiency of all of the federal claims set forth

 in the First Amended Complaint, including those claims pled in the original

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 Complaint. Accordingly, the court considers the viability of all of Plaintiff’s

 FDCPA claims below.

 C.    15 U.S.C. §§ 1692e and 1692f: False, Deceptive or Misleading
       Representations or Means

       Plaintiff’s First Amended Complaint alleges that Defendants violated

 § 1692e, and subparts e(2) and e(10). Section 1692e states “[a] debt

 collector may not use any false, deceptive, or misleading representation or

 means in connection with the collection of any debt.” 15 U.S.C. § 1692e.

 Section 1692e(2) prohibits “[t]he false representation of – the character,

 amount, or legal status of any debt.” Section 1692e(10) prohibits “[t]he use

 of any false representation or deceptive means to collect or attempt to

 collect any debt or to obtain information concerning a consumer.” Under

 § 1692f, “[a] debt collector may not use unfair or unconscionable means to

 collect or attempt to collect any debt.” Section 1692f prohibits “the attempt

 to collect money that is not owed, because the consumer never agreed to

 the debt.” Wilson v. Trott Law, P.C., 118 F. Supp. 3d 953, 960 (E.D. Mich.

 2015).

       To determine whether a debt collector’s practice is deceptive under

 § 1692e or § 1692f, the Sixth Circuit has established an objective test

 based on the understanding of the “least sophisticated consumer.” Wallace


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 v. Washington Mut. Bank, FA, 683 F.3d 323, 326 (6th Cir. 2012). The least

 sophisticated consumer test is “lower than simply examining whether

 particular language would deceive or mislead a reasonable debtor.” Smith

 v. Computer Credit, Inc., 167 F.3d 1052, 1054 (6th Cir. 1999) (internal

 quotation marks and citation omitted). The question is “whether there is a

 reasonable likelihood that the unsophisticated consumer who is willing to

 consider carefully the contents of a communication might yet be misled by

 them.” Grden v. Leikin Ingber & Winters, P.C., 643 F.3d 169, 172 (6th Cir.

 2011). The objective “least sophisticated consumer” standard, “ensured

 ‘that the FDCPA protects all consumers, the gullible as well as the

 shrewd.’” Barany-Snyder v. Weiner, 539 F.3d 327, 332 (6th Cir. 2008)

 (quoting Kistner v. Law Offices of Michael P. Margelefsky, LLC, 518 F.3d

 433, 438 (6th Cir. 2008)).

       Defendants argue that under this standard, they cannot be liable as

 Plaintiff should have known she was not the debtor because it was not her

 social security number on the garnishee disclosure form. Defendants rely

 on numerous cases they argue are analogous, but most of those cases

 were decided after full factual development in the context of a motion for

 summary judgment. See Kujawa, 614 F. Supp. 2d at 791-92 (granting

 defendant’s motion for summary judgment where release and judgment


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 were clearly sent to plaintiff in error where plaintiff and true debtor shared

 the same name but different social security numbers), Kaniewski v. Nat’l

 Action Fin. Sys., 678 F. Supp. 2d 541, 546 (E.D. Mich. 2009) (granting

 defendant’s motion for summary judgment where plaintiff knew that

 automated messages left by defendant on his phone were not directed at

 him).

         Although one of the cases cited was decided in the context of a

 motion to dismiss, Hill v. Javitch, Block & Rathbone, LLP, 574 F. Supp. 2d

 819, 826 (S.D. Ohio 2008), that case is distinguishable because there the

 victim of repeated telephone calls spoke to the debt collector directly, who

 assured him that he was not the correct debtor, and any phone calls he

 was receiving were in error. Because the question of whether a plaintiff

 would be misled under the “least sophisticated consumer” standard is

 generally a question of fact, Plaintiff has sufficiently pled her §§ 1692e and

 1692f claims at this preliminary juncture. It remains possible that her

 claims would not survive summary judgment, but this depends on further

 factual development of the record. Accordingly, Plaintiff’s motion to amend

 to bring claims under §§ 1692e and 1692f shall be granted.




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 D.    15 U.S.C. § 1692c(b): Communications with Third Parties

       Plaintiff also seeks to amend her Complaint to add a claim under

 § 1692c(b). Section 1692c(b) prohibits a debt collector from

 communicating “with any third parties in connection with collecting a debt

 except as reasonably necessary to effectuate a postjudgment judicial

 remedy.” The FDCPA’s “ban on communicating with third parties . . . is

 meant to protect debtors from harassment, embarrassment, loss of job, and

 denial of promotion.” Brown v. Van Ru Credit Corp., 804 F.3d 740, 743

 (6th Cir. 2015). Defendants argue Plaintiff cannot recover under §1692c(b)

 because that section only applies to consumers, and she does not qualify

 as a “consumer” under that section. The FDCPA defines a consumer as

 “any natural person obligated or allegedly obligated to pay any debt.” 15

 U.S.C. §1692a(3). Here, under the plain text of the statute, Plaintiff

 qualifies as a consumer as she was “allegedly obligated to pay any debt,”

 based on the writ or garnishment procured by the Defendants in her name.

 See Dunham v. Portfolio Recovery Assoc., 663 F.3d 997, 1002 (8th Cir.

 2011) (section 1692a(3) includes individuals who are mistakenly dunned by

 debt collectors); Russell v. Goldman Roth Acquisitions, LLC, 847 F. Supp.

 2d 994, 999 (W.D. Mich. 2012) (where debt collector called plaintiff

 repeatedly to attempt to pay a debt now owed by her, plaintiff qualified as


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 “consumer” under § 1692a(3)). Also, as discussed above, the legislative

 history of the FDCPA reveals that Congress was concerned with cases of

 mistaken identity and debt collectors trying to recover from the wrong

 persons.

       Defendants rely on Montgomery v. Huntington Bank, 346 F.3d 693,

 696 (6th Cir. 2003) in support of their argument that Plaintiff does not

 qualify as a consumer. In Montgomery, a debt collector repossessed a

 vehicle which the pro se plaintiff had borrowed from his mother for a debt

 owed by the mother alone. Id. at 695. The Sixth Circuit found the debtor’s

 son did not qualify as a consumer under the FDCPA as he was not

 obligated or allegedly obligated to pay any debt. Id. at 697. The facts here

 are markedly distinguishable. Here, there is a case of mistaken identity

 which as discussed previously, is one of the very ills the FDCPA was

 designed to address. Accepting Defendant’s overly narrow interpretation of

 “consumer” at true, would exempt collection activities directed at the wrong

 individual from FDCPA coverage which would undermine Congress’ goals

 in enacting that statute to protect individuals from unlawful collection

 efforts. See Scott v. Portfolio Recovery Assoc., LLC, 139 F. Supp. 3d 956,

 966 (S.D. Iowa 2015) (plaintiff raised question of fact as to whether she




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 was a consumer under § 1692c(b) where defendant allegedly sought to

 wrongfully garnish her wages in case of mistaken identity).

       Defendants also argue that Plaintiff cannot recover under §1692c(b)

 because she does not allege that Defendants were collecting a “debt” as

 that term is defined under the FDCPA. Under that Act, debt is defined as

 “any obligation or alleged obligation of a consumer to pay money arising

 out of a transaction in which the money, property, insurance, or services

 which are the subject of the transaction are primarily for personal, family, or

 household purposes, whether or not such obligation has been reduced to

 judgment.” 15 U.S.C. §1692(a)(5). But Plaintiff has sufficiently pled that

 the subject debt so qualifies under the FDCPA. See Amended Complaint,

 Doc. 15-2 at ¶¶ 9, 13, 45.

       Finally, Defendants argue that there is no violation under § 1692c(b)

 because a writ of garnishment is a post-judgment remedy and serving a

 writ on a potential employer is “reasonably necessary” to effectuate a wage

 garnishment. Depending on how the proofs develop, it is certainly possible

 that rational jurors would find that contacting the employer of someone with

 the same name as the judgment debtor was reasonable under the

 circumstances. However, at least one court has reached the opposite

 conclusion in similar circumstances. See Scott, 139 F. Supp. 3d at 966


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 (“reasonable jury could conclude that garnishing the wages of the wrong

 person is not ‘reasonably necessary’ to effectuate a judgment; indeed, a

 reasonable jury could conclude that only actions against the correct person

 would be necessary.”) Accordingly, Plaintiff shall be granted leave to

 amend to pursue a claim under § 1692c(b).

 E.    15 U.S.C. § 1692d: Unfair or Unconscionable
       Means to Collect a Debt

       Finally, the court considers Plaintiff’s motion to amend to add a claim

 under § 1692d. Section 1692d provides that “[a] debt collector may not

 engage in any conduct the natural consequence of which is to harass,

 oppress, or abuse any person in connection with the collection of a debt.”

 Section 1692d includes a non-exhaustive list of the types of conduct that

 can give rise to harassment and oppression under that section which

 includes, among other things, the use or threat of violence, the use of

 obscene language, and harassing and abusive telephone calls. 15

 U.S.C.A. § 1692d. Defendants argue they cannot be liable under § 1692d

 because they only communicated with Plaintiff’s employer once, not with

 Plaintiff directly, and that it followed Michigan Court Rules for the proper

 service of the writ of garnishment. Serving Plaintiff’s employer with the writ

 of garnishment does not amount to harassing conduct prohibited under §


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 1692d. The Sixth Circuit found that the even the filing of a debt collection

 lawsuit did not amount to harassing conduct covered by § 1692d as that

 single act was not comparable to the tactics expressly identified in the

 statute. Harvey v. Great Seneca Fin. Corp., 453 F.3d 324, 330-31 (6th Cir.

 2006).

       Similarly, the mistaken filing of a writ of garnishment against the

 wrong person is not the type of oppressive conduct sought to be prohibited

 in § 1692d. See Watkins v. Peterson Enters., 57 F. Supp. 2d 1102, 1109

 (E.D. Wa. 1999) (holding that the serving of writs of garnishment that

 overstated the debt by including costs and fees associate with prior

 unsuccessful writs was not an abusive practice because the types of

 behavior described in § 1692d “are a far cry from that at issue.”). Even

 cases involving numerous and repeated telephone calls have been found

 to be insufficient to give rise to liability under § 1692d. See Pugliese v.

 Prof’l Recovery Serv., Inc., No. 09-12262, 2010 WL 2632562, *10 (E.D.

 Mich. June 29, 2010) (350 calls in an eight month period, although plaintiff

 only answered ten calls, even after the plaintiff asked the collector to cease

 calling, found insufficient as a matter of law to establish violations of

 § 1692d); Williams v. Web Equity Holdings, LLC, No. 2:13-cv-13723, 2014

 WL 3845952, at *4 (E.D. Mich. Aug. 5, 2014) (five calls a month to father


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 who shared same name as debtor not harassing). Here, Plaintiff relies on

 one discreet act on the part of Defendants: namely serving the writ on

 Plaintiff’s employer. This is not analogous to the egregious types of

 prohibited behavior identified in the statute or recognized by case law.

 Accordingly, Plaintiff’s claim under § 1692d shall be dismissed.

                                III. Conclusion


       For the reasons set forth above, Plaintiff’s motion to amend (Doc. 15)

 is GRANTED IN PART in that she is allowed to proceed with FDCPA

 claims under §§ 1692e, 1692f, and 1692c(b), and there being no objection

 to the addition of claims under the Michigan Collection Practices Act,

 M.C.L. §§ 445.252(e)(i)(n)(q), Plaintiff’s motion to amend is GRANTED IN

 PART as to the supplemental state law claims.

       IT IS FURTHER ORDERED that Plaintiff’s motion to amend (Doc. 15)

 is DENIED IN PART in that Plaintiff cannot proceed with her claim under

 § 1692d. IT IS FURTHER ORDERED that Plaintiff file her First Amended

 Complaint to be consistent with this court’s rulings here within five (5)

 business days of the date of entry of this Order.




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       IT IS FURTHER ORDERED that Defendants’ motion for summary

 judgment (Doc. 18) is DENIED AS MOOT.

       IT IS SO ORDERED.

 Dated: June 19, 2019
                                          s/George Caram Steeh
                                          GEORGE CARAM STEEH
                                          UNITED STATES DISTRICT JUDGE


                                 CERTIFICATE OF SERVICE

                  Copies of this Order were served upon attorneys of record on
                       June 19, 2019, by electronic and/or ordinary mail.

                                     s/Marcia Beauchemin
                                         Deputy Clerk




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